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Plaintiff,

v. No. 04-2299 Ma/V
JOHN SNOW, SECRETARY, UNITED
S'I'ATES DEPARTHENT OF THE
TREASURY

Defendant.

 

ORDER DENYING PLAIN'I'IFF'S MOTION TO DISQUALIFY ADVERSE CO`UNSEL
.AN'.D RE-ADOPTING REPORT AN'D RECOMIEN'DATION OF THE MAGISTRATE JUDGE

 

This suit arises from the alleged disability discrimination
suffered by Plaintiff Florence Hall while she was employed at the
Internal Revenue Service (“IRS"}. On September 23, 2004, Plaintiff
filed a “motion and memorandum in support of questions raised on
conflict of interest." The United States (“the government”), on
behalf of Defendant John Snow, responded to the motion on October
B, 2004. On December 22, 2004, Magistrate Judge Diane Vescovo
issued a report and recommendation that Plaintiff’s motion, which
the court treated as a motion to disqualify adverse counsel, be
denied. On January 19, 2005, District Judge Jon McCalla entered an
order adopting the magistrate judge's report and recommendation.

On January 31, 2005, Plaintiff submitted, via facsimile to the

court, a “motion objecting to order entered January 19, 2005.”

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Plaintiff requested the opportunity to file a reply to the
Defendant’s response to her motion. Although time for filing
objections had passed, on February 4, 2005, the court vacated its
order to allow Plaintiff to file objections to the magistrate
judge's report and recommendation. Plaintiff filed her objections
on February 18, 2005. For the following reasons, Plaintiff's
motion is DENIED and the court again ADOPTS the magistrate judge'e
report and recommendations.
I. Legal Standard

A district court's authority to disqualify attorneys derives
from its power to conduct litigation. §§§ In re Robert J. Snyder,
472 U.S. 634, 645 n.6 (1985). Motions to disqualify are
substantive motions affecting the rights of the parties in federal

court. In re Dresser Industries Inc., 972 F.2d 540, 543 (5th Cir.

 

1992); In re American A:i_rlinesl Inc., 972 F.2d 605, 610 [5th Cir.
1992). Therefore, the governing standards are a matter of federal
law. Snyder, 472 U.S. at 645 n.6; Bell Atlantic Corp. v. Bolger, 2
F.3d 1304, 1316 (3d Cir. 1993); Smith v. Kalamazoo Ophthalmology,
322 F. Supp. 2d 883, 888 {W.D. Mich. 2004). The Western District
of Tennessee has adopted Local Rule 83.1(e), which requires
attorneys to “comply with the Code of Professional Responsibility
as then Currently promulgated and amended by the Supreme Court of
Tennessee.” Although a federal court is not bound by state

interpretations of relevant ethical provisions, those

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interpretations will be given weight to the extent that they are
compatible with federal interests.l §gg_ Cavender v. US XPress
§§;§;p;;§§§¢_lgg;, 191 F. Supp. 2d 962, 966 (E.D. Tenn. 2002).

In deciding a notion to disqualify based on a conflict of
interest with a former client, the court must determine that 1) a
past attorney-client relationship existed between the party seeking
disqualification and the attorney it seeks to disqualify, 2) the
subject matter of that relationship is substantially related to the
matter before the court, and 3) the attorney acquired confidential
information from the party seeking disqualification. Dana Corp. v.
Blue Shield, 900 F.2d 882, 889 (6th Cir. 1990}; McKinney 'v.
McMeans, 147 F. Supp. 2d 898, 900 (W.D. Tenn. 2001). The movant
has the burden of proving that opposing counsel should be
disqualified. McKinney, 147 F. Supp. 2d.at 900; Bartech Industries,
Inc. v. International Baking Co., lnc., 910 F. Supp. 388, 392 {E.D.
Tenn. 1996).

II. Analysis

Plaintiff asserts that she was represented by the United
States Attorney's (“USA") office in a previous lawsuit against a
private business entity, United States of America v. Bette Bus
Shuttle, et al., No. 03~CV~2100, for violations of the Americans

with Disabilities Act (“ADA”). She claims that the USA's prior

 

l The court notes that the circumstances under which a Tennessee

attorney may violate ethical duties concerning conflicts of interest are,
although related and relevant, not identical to those under which a federal
court will disqualify an attorney appearing before it.

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representation of her in that matter presents an impermissible
conflict of interest in the instant case. Under the relevant ADA
provisions, “[a]ny individual who believes that he or she or a
specific class of persons has been subjected to discrimination
prohibited by the Act ... may request the Department [of Justice]
to institute an investigation.” 28 C.F.R. § 36.502(b]. Following
such an investigation, the Attorney General has sole discretion to
decide whether to bring an action in federal court. 28 C.F.R. §
36.503. lt appears that this procedure was followed in the Bette
Bus Shuttle case in which Plaintiff claims to have been represented
by the USAFs office. Plaintiff was not a named party to the action
and did not have any control, as a client, over the decisions made
by the government in prosecuting the lawsuit. Thus, Plaintiff has
not established that an attorney-client relationship existed
between the USA's office and her.

Further, Plaintiff has not alleged or demonstrated that the
instant lawsuit is substantially related to the subject matter of
the Bette Bus Shuttle litigation or that any lawyer in the USA*s
office received confidential information.about her. Consequently,
she has failed to meet the burden necessary to disqualify opposing
counsel based on a conflict of interest. Additionally, as the
magistrate judge concluded, there is significant doubt as to
whether the USA’s office fits within the definition of “firm" for

purposes of imputed or vicarious disqualification under Tenn. Sup.

 

 

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Ct. Rule 8, Model Rules of Prof'l Conduct 1.10.2 The court also
finds the application of this rule instructive.

Plaintiff also appears to argue that the USA‘s office is not
authorized to defend the government in ADA lawsuits. Plaintiff
argues that her case should be “presented to the Civil Division [of
the Department of Justice]£' The USA's office is part of the
Department of Justice and is allowed to defend the government and
its representatives in employment discrimination lawsuits brought
by individual plaintiffs. Seel e.g., Smith v. Henderson, 376 F.3d
529 (6th Cir. 2004}(ADA and Title VII claims against Postmaster
General); Ferrero v. Henderson, 341 F. Supp. 2d 873 (S.D. Ohio
2004))(claims against Postmaster General under Rehabilitation Act
and Family and Medical Leave Act}. Thus, Plaintiff‘s motion on

this ground must also be denied.

 

2 The comments of Rule 1.10 define “firm“ as “lawyers in a law
partnership, professional corporation, sole proprietorship or other
association authorized to practice law; or lawyers employed in a legal
services organization or the legal department of a corporation or other
organization." Plaintiff does not allege that the same individual attorney
who represented her in the prior litigation is defending the government in
this lawsuit.

 

 

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III. Conclusion
For the foregoing reasons, the court again ADOPTS the
magistrate judge' s report and recommendation and DENIES Plaintiff's

motion to disqualify the United States Attorney’s office.

s)L

SO ORDERED this

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day of July 2005.
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Samuel H. Mays, Jr.
United States District Judge

